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            EXHIBIT A
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                           UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

                     BEFORE THE HONORABLE EDWARD M. CHEN


CASIMIRO JOSE CANHA CAVACO DIAS,   )
                                   )
             Plaintiff,            )
                                   )
  vs.                              ) No. C 24-04471 EMC
                                   )
RULA NABIL KHOURY CAVACO DIAS      )
                                   ) San Francisco, California
             Defendant.            ) Thursday
                                   ) October 24, 2024
___________________________________) 2:00 p.m.

                     TRANSCRIPT OF ZOOM VIDEO CONFERENCE
APPEARANCES:

For Plaintiff:                         GREEN, KAMINER, MIN & ROCKMORE, LLP
                                       420 Lexington Avenue
                                       Suite 2821
                                       New York, New York 10170
                              BY:      RICHARD MIN, ESQ.
                                       MICHAEL BANUCHIS, ESQ.

                                       DELACEY, RIEBEL, SHINDELL, LLP
                                       180 Montgomery Street
                                       Suite 1900
                                       San Francisco, California 94104
                              BY:      KELLY SHINDELL DELACEY, ESQ.


For Defendant:                         GIBSON, DUNN & CRUTCHER, LLP
                                       555 Mission Street
                                       Suite 3000
                                       San Francisco, California 94105
                              BY:      THAD ALAN DAVIS, ESQ.
                                       AARON J. CHEUNG, ESQ.

               (APPEARANCES CONTINUED ON FOLLOWING PAGE)

Reported By:   Debra L. Pas, CSR 11916,
                                 11916, CRR, RMR, RPR
               Official Reporter - US District Court
               Computerized Transcription By Eclipse

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1    APPEARANCES:     (CONTINUED)

2    For Defendant:                    GIBSON, DUNN & CRUTCHER, LLP
                                       333 South Grand Avenue
3                                      Suite 4600
                                       Los Angeles, California 90071
4                            BY:       ROMMY L. FLORES CONKLIN, ESQ.
                                       DANIELLE ERIN HESSE, ESQ.
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1    Thursday - October 24, 2024                                                  1:56 p.m.

2                                   P R O C E E D I N G S

3                                             ---000---

4                THE CLERK:           This court now in session.                  The Honorable

5    Edward M. Chen presiding.

6         Court is calling the case Dias versus Dias, Case No.

7    24-4471.

8         Counsel, please state your appearance for the record

9    beginning with the petitioner.

10               MR. MIN:         Richard Min, Green Kaminer Min and Rockmore

11   on behalf of petitioner, Casimiro Dias.                            Good afternoon, Your

12   Honor.   Good afternoon, everyone.

13               THE COURT:           All right.          Good afternoon Mr. Min.

14               MR. BANUCHIS:             Michael Banuchis also for the

15   petitioner Casimiro Dias.                Good afternoon, Your Honor.

16               THE COURT:           All right.          Good afternoon, Mr. Banuchis.

17               MS. DELACEY:            And Kelly Shindell DeLacey of DeLacey,

18   Riebel and Shindell in San Francisco for petitioner.

19               THE COURT:           All right.          Thank you, Ms. DeLacey.

20               MR. DAVIS:           Good afternoon, Your Honor.                  Thad Davis

21   from Gibson Dunn for respondent.

22               THE COURT:           Okay, Mr. Davis:

23               MS. FLORES:           Good afternoon, Your Honor.                  Rommy

24   Flores from Gibson Dunn for respondent.

25               THE COURT:           All right.          Good afternoon, Ms. Flores.

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1               MS. HESSE:          Good afternoon, Your Honor.                 Danielle

2    Hesse from Gibson, Dunn and Crutcher for respondent as well.

3               THE COURT:          All right.          Thank you, Ms. Hesse.

4         All right, so we have on -- and I wanted to do this as

5    quickly as possible -- the petitioner's motion for voluntarily

6    dismissal.    I understand that the request is to dismiss with

7    prejudice; correct?

8               MR. MIN:        That is correct, Your Honor.

9               THE COURT:          And can I -- do I assume correctly that

10   that means that the petitioner will not be seeking, either in

11   this court or another court, return of the children under the

12   Hague Convention back to Armenia?

13              MR. MIN:        That is absolutely correct, Your Honor.

14        I want to clarify something because I believe there was

15   some -- as we stated in our emails, some misrepresentations by

16   counsel.

17        We want to be clear.              Our client is agreeing that custody

18   and litigation can go forward in California.                        And, yes, he's

19   not seeking the return to Armenia pursuant to the Hague

20   Convention.    We are withdrawing those claims.

21              THE COURT:          All right.          And that you would be seeking

22   custodial -- or litigating custodial question and rights,

23   custodial rights, in the California courts and not in Armenia

24   or some other forum; right?

25              MR. MIN:        That is right.

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1              THE COURT:           Okay.

2         All right.       Mr. Davis?

3              MR. MIN:         Oh, can I just -- I just want to correct

4    something my co-counsel said so that it doesn't linger.

5         Just because she came on the case and the case was

6    transferred to California, there was a representation made

7    while the case was still in Georgia as to when she arrived in

8    California.    So I do want to just clarify that.

9              THE COURT:           All right.          Thank you.

10        Mr. Davis.

11             MR. DAVIS:           Thank you, Your Honor.

12        I would just say we need it to be clear that they are

13   going to accept service whether he does it -- while he's here

14   the next two weeks or otherwise of both.                         As Your Honor just

15   noted, the custody case and the DVRO proceeding, that we want

16   to make sure there is no ambiguity about that.

17        What we don't want, and the difficulty here and -- is that

18   we don't want a gap of protection.                    I think Your Honor is

19   sensitive to that.         We just don't want any challenges to

20   service or challenges to jurisdiction.                       And I don't hear

21   counsel saying there will be, but, you know, trust but verify I

22   think at this point.

23        I will also say the reason the TRO was denied was we're

24   caught in this paradox where it was about service and

25   jurisdiction.      So it wasn't on the merits, obviously.

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1         But I would say, the other thing, Your Honor, in terms of

2    the conditions.          Now that Armenia is off the table, you know, I

3    don't know that we need a condition around habitual residence,

4    but they're -- they are waiving that explicitly.

5         I will say on spoliation, Your Honor, that is -- that has

6    been -- and the reason that's still a live issue is there's

7    going to be litigation in state court.                          There's going to be

8    questions in the DVRO hearing about what evidence there is of

9    the threat of violence and so forth.                        And we would ask that

10   there be a finding that there was a destruction of evidence

11   that was negative, did not reflect well on --

12                THE COURT:           Well, I'm not favorably exposed to that.

13   You're asking me now to adjudicate and make a finding not in

14   service of an actual issue before me in terms of the merits of

15   the underlying case.             That's what it would have been.                   It would

16   have been in service of that, to determine what gets admitted

17   at trial, et cetera, et cetera.                     But really it's service for

18   the state court in making an evidentiary determination for

19   them, and I -- I'm not going to do that.                            That's -- I don't

20   think that's appropriate.

21        I understand you've got -- your client has time and

22   resources invested into that issue, but since the underlying

23   claim and the relief are now no longer live, frankly, it

24   doesn't make sense for me to make evidentiary rulings in a

25   vacuum.

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1         I understand why your client would want that, but I don't

2    think that's appropriate for me, especially in view of the fact

3    that there are going to be state proceedings and then we begin

4    to intrude in terms of federalism issues and all that.

5         So both for almost kind of an Article III reason as well

6    as a federalism reason, I'm very hesitant to start making

7    evidentiary and sanctions and determinations, so I won't do

8    that.

9         But I will make sure that if there's going to be a

10   dismissal with prejudice of all the things we talked about,

11   taking Armenia off the table, submitting to the jurisdiction of

12   the California courts, that can all go forward.                             And that will

13   include some kind of service agreement, however you all want to

14   do that.

15        I just want to make sure it's all tied up in a bundle so

16   that I can dismiss and then hold the conditions in place and

17   hand that off as soon as possible to the state courts.

18              MR. DAVIS:           If I could, Judge, I appreciate you

19   considering it.        I wasn't meaning to overreach.

20        It's just that had we gone forward next week, you know, we

21   believe we would have -- if we had to, we would have

22   established the grave risk finding and that would have informed

23   the state proceeding, but I hear you 100 percent.

24              THE COURT:           We don't even know that for sure because

25   it just could have ended in the habitual residence question.                                  I

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1    mean, that was your first argument, and we never would have

2    gotten to the -- so that's what I mean.                          We're sort of second

3    guessing ourselves here.

4         So I'd like you all -- I think we're on the same page,

5    which is why I asked the question in the first place.                           I don't

6    think there's -- I'm not hearing any fundamental objections to

7    service with respect to the DV or the custody.                         Maybe there's

8    conditions.

9         I'd like you all to work that up into a stipulated order

10   for me to sign, knowing that I will grant the dismissal with

11   prejudice, but making clear that the return to Armenia,

12   adjudicating custody rights in Armenia are not on the table,

13   and that -- that the hand-off will go to the California courts

14   with respect to both custody and any conditions, restraining

15   order or those sorts of things.

16             MR. DAVIS:           Your Honor, there is one still

17   outstanding issue; that you had ordered that by, I think,

18   Tuesday the 29th, the first day of trial, the petitioner would

19   return the Portuguese passports for two of the three children.

20   They would be put into custody at the court.                         I guess we need

21   to deal with passports generally when the hand-off happens, as

22   you described it.

23        We met-and-conferred with counsel.                          We understand that

24   petitioner is having some difficulty locating those.                          We've

25   offered resources.         We've offered on the ground resources to

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                     CERTIFICATE OF OFFICIAL REPORTER




     I certify that the foregoing is a correct transcript from

the record of proceedings in the above-entitled matter.




                  __________________________________

                Debra L. Pas, CSR 11916, CRR, RMR, RPR

                          Wednesday, October 30, 2024




                  Debra L. Pas, CSR, RPR, RMR, CRR
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